                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 1 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    __________ District of __________

                         DAWABSHE                                    )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:20-cv-00555-DLF
                                                                     )
                    NETANYAHU ET AL.
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Benjamin Netanyahu
                                           Prime Minister's Office
                                           Public Enquiries Department
                                           Kiryat Ben Gurion I
                                           Building C
                                           Jerusalem, Israel 91950

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:            03/16/2020                                                              /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 2 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Andrew Cuomo
                                           New York State Executive Mansion
                                           138 Eagle Street
                                           Albany, NY 12202


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:              03/16/2020                                                           /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 3 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           MIRIAM ADELSON
                                           201 SANDS AVENUE
                                           LAS VEGAS, NV 89169




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:            03/16/2020                                                             /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 4 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                                                                    )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           AIPAC
                                           251 H STREET NW
                                           WASHINGTON, D.C. 20001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:           03/16/2020                                                                   /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 5 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BRIAN SHANKMAN
                                           AIPAC DIRECTOR OF REGIONAL AFFAIRS &
                                           DEVELOPMENT
                                           251 H STREET NW
                                           WASHINGTON, D.C. 20001


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:            03/16/2020                                                                /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 6 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           HOWARD KOHR
                                           AMERICAN ISRAEL PUBLIC AFFAIRS COMMITTEE
                                           251 H STREET NW
                                           WASHINGTON, D.C. 20001


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:           03/16/2020                                                              /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 7 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
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                    NETANYAHU ET AL.
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                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           GUSTAF CARDELIUS, ATTORNEY AT LAW
                                           ADVOKATFIRMAN CARTHIEL AB
                                           BOX 7212
                                           SE-103 88 STOCKHOLM


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:           03/16/2020                                                               /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 8 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           AMBASSADOR DAVID FRIEDMAN
                                           U.S. STATE DEPARTMENT
                                           2201 C STREET NW
                                           WASHINGTON, D.C. 20520


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


                 03/16/2020                                                             /s/ Erica Garmendez
Date:
                                                                                        Signature of Clerk or Deputy Clerk
                      Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 9 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           DANIEL GILBERT
                                           ROCKET MORTGAGE FIELDHOUSE
                                           1 CENTER COURT
                                           CLEVELAND, OH 44115


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:            03/16/2020                                                              /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 10 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           NEWT GINGRICH
                                           GINGRICH FOUNDATION
                                           4501 FAIRFAX DR STE 900
                                           ARLINGTON, VA 22203


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:           03/16/2020                                                              /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 11 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
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                    NETANYAHU ET AL.
                                                                    )
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                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           RUDOLPH GIULIANI, ATTORNEY AT LAW
                                           5 TIMES SQUARE, 24th FLOOR
                                           NEW YORK, NY 10036




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT

                                                                                        /s/ Erica Garmendez
Date:           03/16/2020
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 12 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           JASON GREENBLATT
                                           THE WHITE HOUSE
                                           1600 PENNSYLVANIA AVE. NW
                                           WASHINGTON, D.C.


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:           03/16/2020                                                               /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 13 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
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                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
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                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Dov Hikind
                                           1310 48th Street
                                           Brooklyn, NY 11219




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


                03/16/2020                                                               /s/ Erica Garmendez
Date:
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 14 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           MICHAEL HUCKABEE
                                           1134 SILVERWOOD TRAIL
                                           NORTH LITTLE ROCK, AR 72116




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:             03/16/2020                                                             /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 15 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                         DAWABSHE                                   )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JARED KUSHNER
                                           THE WHITE HOUSE
                                           1600 PENNSYLVANIA AVE. NW
                                           WASHINGTON, D.C. 20500




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:           03/16/2020                                                              /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 16 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                                                                    )
                         DAWABSHE                                   )
                                                                    )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:20-cv-00555-DLF
                                                                    )
                                                                    )
                    NETANYAHU ET AL.
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           SUSAN LEVIN-ABIR
                                           FRIENDS OF ISRAELI DEFENSE FORCES
                                           2815 N. FLAGLER DRIVE
                                           WEST PALM BEACH/ BROWARD, FL 33407


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:            03/16/2020                                                             /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 17 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

                                                                    )
                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
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                                v.                                          Civil Action No. 1:20-cv-00555-DLF
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                                                                    )
                    NETANYAHU ET AL.
                                                                    )
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           WALID SHOEBAT
                                           RESCUE CHRISTIANS
                                           FORUM FOR MIDDLE EAST UNDERSTANDING
                                           1150 N. LOOP 1604 W. #108-270

                                           SAN ANTONIO, TX 78248
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:           03/16/2020                                                               /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 18 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

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                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
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                                v.                                          Civil Action No. 1:20-cv-00555-DLF
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                    NETANYAHU ET AL.
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                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DOV WEISSGLAS
                                           CHAIRMAN OF THE EXECUTIVE COMMITTEE
                                           UNIVERSITY OF HAIFA
                                           199 ABA KHOUSHY AVE.
                                           MOUNT CARMEL, HAIFA ISRAEL


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:           03/16/2020                                                              /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
                     Case 1:20-cv-00555-DLF Document 7 Filed 03/16/20 Page 19 of 19

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District of __________

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                         DAWABSHE                                   )
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                            Plaintiff(s)                            )
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                                v.                                          Civil Action No. 1:20-cv-00555-DLF
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                    NETANYAHU ET AL.
                                                                    )
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                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           DONALD TRUMP
                                           THE WHITE HOUSE
                                           1600 PENNSYLVANIA AVE. NW
                                           WASHINGTON, D.C. 20500


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Martin McMahon & Associates
                                           1717 K St. NW, Suite 900
                                           Washington, D.C. 20006
                                           202-862-4343


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              ANGELA D. CAESAR, CLERK OF COURT


Date:          03/16/2020                                                               /s/ Erica Garmendez
                                                                                        Signature of Clerk or Deputy Clerk
